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                            UNITED STATE DISTRICT COURT
                               DISTRICT OF NEBRASKA


In Re:                                     Case No. 4:22-cv-3191

Data Security Cases Against NELNET         The Honorable John M. Gerrard, U.S.D.J.
SERVICING, LLC
                                           The Honorable Jacqueline M. DeLuca, U.S.M.J.


                                NOTICE OF SETTLEMENT

         Plaintiffs Jessica Alexander, Pamela Bump, Bridget Cahill, Lesly Canales, Melissa

Charbonneau, Douglas Conley, Noah Helvey, Dallin Iler, Dustin Jones, Kayli Lazarz,

Brittni Linn, Delilah Oliveira, Devinne Peterson, Eric Polanco, Justin Randall, Sofia

Rodriguez, Joshua Sanchez, Charles Sangmeister, Ian Scott, William Spearman, Taylor

Vetter, Rachel Woods, Garner J. Kohrell, Olivia Covington, Alexis Luna, MaKayla Nelson,

and Mary Traynor (collectively, the “Lead Plaintiffs”) hereby provide notice that Lead

Plaintiffs have reached a settlement in principle with defendant Nelnet Servicing, LLC,

defendant EdFinancial Services, LLC (“EdFinancial”) (collectively, the “Defendants”) and

the Oklahoma Student Loan Authority (“OSLA”)(collectively, the “Parties”).

         The Parties are in the process of preparing a written settlement agreement and

anticipate filing preliminary approval papers within the next forty-five (45) days. The

Parties therefore request that the Court stay or vacate all other deadlines, without prejudice.
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Dated: June 11, 2024                     Respectfully Submitted,

                                         /s/ Ian W. Sloss
                                         Ian W. Sloss
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on June 11, 2024 the Notice of Settlement was filed with

the Court’s ECF system, which will cause a true and correct copy of the same to be served

electronically on all ECF-registered counsel of record.


                                             /s/ Ian W. Sloss
                                             Ian W. Sloss




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